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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 18-cv-00182-GPG

J. FREDDRICK MASON,

      Plaintiff,
v.

CHRISTINE ZORRILA,
WILLIAM ROBBINS, Judge,
ALISON SUTHERS, and
LISA HUGHES,

      Defendants.


                                ORDER OF DISMISSAL


      Plaintiff, J. Freddrick Mason, resides in Denver, Colorado. Mr. Mason has

submitted pro se a Complaint (ECF No. 1) asserting a deprivation of his constitutional

rights pursuant to 42 U.S.C. § 1983. He has been granted leave to proceed in forma

pauperis pursuant to 28 U.S.C. § 1915.

      In a January 29, 2018 Order, Magistrate Judge Gordon P. Gallagher reviewed the

Complaint and determined that it was deficient because Mr. Mason’s § 1983 claims

appeared to be barred by the rule of Heck v. Humphrey, 512 U.S. 477 (1994). (ECF No.

6). Consequently, Mr. Mason was ordered to show cause, within 30 days of the January

29, 2018 Order, why this action should not be dismissed. (Id.).

      Mr. Mason has failed to respond to the January 29 Order to Show Cause and has

not otherwise communicated with the Court since the order was issued. Therefore, this

action will be dismissed for the reasons discussed below.




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       Mr. Mason alleges in the Complaint that he was arrested on false charges of

second degree assault and child abuse on July 20, 2017, after a hotel employee

misconstrued a domestic incident involving Plaintiff, his minor son, and the son’s mother.

Plaintiff states that his “religious beliefs compelled me to react to protect my child” from

his mother. (ECF No. 1 at 5). Plaintiff further alleges that during the state criminal

proceeding, his court-appointed public defender requested that he undergo a

competency examination. After Mr. Mason was deemed competent to proceed, he

requested that he be appointed new counsel, but the request was denied by the state trial

court. According to Plaintiff, on January 23, 2018, he was “compelled to violate his

religious beliefs by taking a deal for probation.” (ECF No. 1 at 6). Mr. Mason asserts a

single claim that his right to religious freedom was violated. For relief, he asks that his

criminal case be vacated.

       As discussed in the January 29 Order to Show Cause, Mr. Mason may not pursue

a § 1983 claim challenging his arrest, pre-trial detention and guilty plea under the rule of

Heck. Under Heck v. Humphrey, if a judgment for damages favorable to a prisoner in a

42 U.S.C. ' 1983 action necessarily would imply the invalidity of his criminal conviction or

sentence, the ' 1983 action does not arise until the conviction or sentence has been

reversed on direct appeal, expunged by executive order, declared invalid by an

authorized state tribunal, or called into question by the issuance of a federal habeas writ.

512 U.S. at 486-87. See also Wilkinson v. Dotson, 544 U.S. 74, 81-82 (2005) ("[A] state

prisoner's § 1983 action is barred (absent prior invalidation)—no matter the relief sought

(damages or equitable relief), no matter the target of the prisoner's suit . . . — if success

in that action would necessarily demonstrate the invalidity of confinement or its



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duration."). The rule in Heck is not limited solely to claims challenging the validity of

criminal convictions and sentences; the rule also applies to claims seeking to invalidate

the results of other forms of detention. See Edwards v. Balisok, 520 U.S. 641 (1997)

(applying Heck to prison inmate's claims challenging procedures used to deprive him of

good time credits); Crow v. Penry, 102 F.3d 1086, 1087 (10th Cir.1996) (per curiam)

(stating that Heck applies to proceedings related to parole and probation); see also

Cohen v. Clemens, No. 08-1394, 321 F. App'x 739, 741-42 (10th Cir. 2009)

(unpublished) (applying Heck to claims for damages by immigration detainee challenging

legality of his detention).

       Further, even if Mr. Mason’s request for injunctive relief is not barred by Heck, it is

not cognizable in a § 1983 action. Plaintiff must assert any constitutional challenges to

his conviction, and request that his conviction be vacated, in a habeas corpus action, filed

under 28 U.S.C. § 2254, after he exhausts available state court remedies. See 28 U.S.C.

§ 2254(b); see also Preiser v. Rodriguez, 411 U.S. 475, 484 (1973) (“The essence of

habeas corpus is an attack by a person in custody upon the legality of that custody, and

. . . the traditional function of the writ is to secure release from illegal custody); McIntosh

v. United States Parole Comm’n, 115 F.3d 809, 811 (10th Cir. 1997) (“Petitions under §

28 U.S.C. § 2254 habeas . . . are used to collaterally attack the validity of a conviction

and sentence.”).

       Finally, to the extent Mr. Mason’s state criminal proceeding is ongoing because he

has not exhausted his state appellate rights, the Court must abstain from interfering in

that proceeding pursuant to the doctrine of Younger v. Harris, 401 U.S. 37 (1971).

Under Younger, federal courts are prohibited from interfering with ongoing state criminal



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proceedings, absent extraordinary or special circumstances. See Phelps v. Hamilton,

122 F.3d 885, 889 (10th Cir. 1997). Abstention is appropriate under Younger if three

conditions are met: “(1) the state proceedings are ongoing; (2) the state proceedings

implicate important state interests; and (3) the state proceedings afford an adequate

opportunity to present the federal constitutional challenges.” Phelps, 122 F.3d at 889.

The abstention principles of Younger are jurisdictional and apply whether the plaintiff

seeks equitable or monetary relief. See D.L. v. Unified School Distr. No. 497, 392 F.3d

1223, 1228 (10th Cir. 2004); Parkhurst v. Wyoming, 641 F.2d 775, 777 (10th Cir.1981).

       If there is an ongoing state criminal proceeding, the second Younger condition is

satisfied because the Supreme Court “has recognized that the States’ interest in

administering their criminal justice systems free from federal interference is one of the

most powerful of the considerations that should influence a court considering equitable

types of relief.” Kelly v. Robinson, 479 U.S. 36, 49 (1986) (citing Younger, 401 U.S. at

44-45). Under the third condition, Mr. Mason will have an opportunity to raise his

constitutional claims during an appeal and there is no reason to believe that his claims

will not be given full and proper consideration by the state courts. See Kugler v. Helfant,

421 U.S. 117 (1975) (noting that “ordinarily a pending state prosecution provides the

accused a fair and sufficient opportunity for vindication of federal constitutional rights”).

       Mr. Mason does not allege any facts in the Complaint to overcome the

presumption of abstention, which requires a showing of “proven harassment or

prosecutions undertaken by state officials in bad faith without hope of obtaining a valid

conviction and perhaps in other extraordinary circumstances where irreparable injury can

be shown.’” Phelps, 122 F.3d at 889 (quoting Perez v. Ledesma, 401 U.S. 82, 85 (1971)).



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Indeed, he alleged in the Prisoner Complaint filed in a previous case that on July 15,

2017, one day before his arrest, he struck [his wife] in a manner to cause her to release

[their son].” (See Jah Frederick Nathanial Mason, III v. J. Hickenlooper, et al., No. 17-cv-

01967-LTB, No. 1 at 13-14 (cited in 11/28/17 Order of Dismissal, at 10). It is the

Plaintiff’s “‘heavy burden’ to overcome the bar of Younger abstention by setting forth

more than mere allegations of bad faith or harassment.” Id. Mr. Mason’s conclusory

assertion that he was arrested and prosecuted based on his exercise of First Amendment

rights is insufficient. Accordingly, it is

         ORDERED that the § 1983 claims asserted in the Complaint are DISMISSED

WITH PREJUDICE pursuant to the rule of Heck v. Humphrey, 512 U.S. 477 (1994). It is

         FURTHER ORDERED that Plaintiff’s request that the Court vacate his state court

conviction is DISMISSED WITHOUT PREJUDICE for lack of jurisdiction. It is

         FURTHER ORDERED that that leave to proceed in forma pauperis is denied for

the purpose of appeal. The Court certifies pursuant to 28 U.S.C. ' 1915(a)(3) that any

appeal from this order would not be taken in good faith. See Coppedge v. United States,

369 U.S. 438 (1962). If Mr. Mason files a notice of appeal he must also pay the full $505

appellate filing fee or file a motion to proceed in forma pauperis in the United States

Court of Appeals for the Tenth Circuit within thirty days in accordance with Fed. R. App.

P. 24.

         DATED March 9, 2018, at Denver, Colorado.

                                             BY THE COURT:

                                              _s/Lewis T. Babcock_______________
                                             LEWIS T. BABCOCK, Senior Judge
                                             United States District Court



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